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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN

Rudolph Betancourt, Individually,                 :
                                                  :
               Plaintiff,                         :   Case No. 1:18-cv-853
v.                                                :
                                                  :
Boyne Mountain Resort, LLC, a Michigan            :
limited liability company,                        :
                                                  :
And                                               :
                                                  :
The Mountain Grand Lodge & Spa, L.L.C., a         :
Michigan limited liability company                :


            Defendant.
______________________________________/


                COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

        Plaintiff, RUDOLPH BETANCOURT, Individually, (sometimes referred to as “Plaintiff”

or “Plaintiffs”), hereby sues the Defendants, Boyne Mountain Resort, LLC, a Michigan limited

liability company and The Mountain Grand Lodge & Spa, L.L.C., a Michigan limited liability

company for Injunctive Relief, and attorneys’ fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

                                            PARTIES

1.       Plaintiff, RUDOLPH BETANCOURT, is an individual residing in Fenwick, MI, in the

        County of Montcalm, is sui juris, and qualifies as an individual with disability as defined

        by the ADA, 42 U.S.C. § 12102(2), 28 C.F.R. 36.104.

2.      Defendants Boyne Mountain Resort, LLC and The Mountain Grand Lodge & Spa, L.L.C.

        own or operate property commonly known as Boyne Mountain Resort and is located at

        One Boyne Mountain Rd, Boyne Falls, MI 49713 in Charlevoix County.

                                JURISDICTION AND VENUE

3.      Count I is brought pursuant to the laws of the United States, therefore the Court has

        jurisdiction pursuant to 28 U.S.C. §1331. Count II utilizes the same core of operative
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        fact, and is therefore subject to supplemental jurisdiction pursuant to 28 U.S.C. §1367.

4.      Venue is properly located in the Western District of Michigan because venue lies in the

        judicial district of the property situs. The Defendants’ property and business is located in

        and do business within this judicial district.

5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

        jurisdiction over actions which arise from the Defendants’ violations of Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

        and § 2202.

6.      Plaintiff is a United States Marine Corps veteran and leg amputee and uses a wheelchair,

        as wells as a prosthetic, for mobility. As such, he is substantially limited in performing

        one or more major life activities, including but not limited to, standing and walking, as

        defined by the ADA and its regulations thereto. On September 5th, 2016, June 28th 2018

        and other occasions, Plaintiff was an overnight guest and waterpark user on the property

        that forms the basis of this lawsuit. On February 21, 2017 the Plaintiff was a winter

        recreation customer at the resort. Mr. Betancourt and his family have been both summer

        and winter users of the resort in question and Mr. Betancourt has plans to return to the

        property to avail himself of the goods and services offered to the public at the property as

        he and his family have over the course of the past several years.

7.      Rudolph Betancourt frequents the Charlevoix County region for family getaways and

        has been an overnight guest at the Defendant’s destination resort that forms the basis of

        this lawsuit.    During the Plaintiff’s visits to Defendants’ resort he encountered

        architectural barriers at the subject property’s common areas and in the lodge and other

        accommodations located therein that violate the ADA and its regulations. The barriers to

        access at the property have endangered Plaintiff’s safety. Mr. Betancourt also was

        damaged by discriminatory policy, procedures and practices of the Defendant.

8.      Defendants own, lease, lease to, or operate a place of public accommodation as defined
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        by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

        Defendant is responsible for complying with the obligations of the ADA. The place of

        public accommodation that the Defendants own, operate, lease or lease to is a resort

        known as Boyne Mountain Resort located at One Boyne Mountain Rd, Boyne Falls, MI

        49713 in Charlevoix County.

9.      Defendant also serves as a property manager for condominium owners and operates the

        resort condominiums as a transient lodging hotel subject to the ADA. The lodging has a

        central reservation system, patrons have short terms stays, the resort has regular

        housekeeping, and the resort handles the refurbish, remodel or changes to the units in

        order to maintain certain hospitality standards.

10.     RUDOLPH BETANCOURT has a realistic, credible, existing and continuing threat of

        discrimination from the Defendants’ non-compliance with the ADA with respect to this

        property as described but not necessarily limited to the allegations in paragraph 12 of this

        complaint.   Plaintiff has reasonable grounds to believe that he will continue to be

        subjected to discrimination in violation of the ADA by the Defendants. RUDOLPH

        BETANCOURT desires to visit the hotel and resort not only to avail himself of the goods

        and services available at the property but to assure himself that this property is in

        compliance with the ADA so that he and others similarly situated will have full and equal

        enjoyment of the property without fear of discrimination.

11.     The Defendants have discriminated against the individual Plaintiff by denying him access

        to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

        and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.     The Defendants have discriminated, and is continuing to discriminate, against the

        Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by

        January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

        receipts of $500,000 or less). A preliminary inspection of the hotel has shown that
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        violations exist. These violations include, but are not limited to:


Parking and Accessible Routes

   A. The facility does not maintain the elements that are required to be readily accessible and
      useable by persons with disabilities, in violation of the ADA whose remedy is readily
      achievable.

   B. There is not a compliant accessible route from some of the site arrival points to the
      facility entrances they serve, in violation of the ADA whose remedy is readily
      achievable.

   C. There is not a continuous accessible route connecting all buildings, accessible elements,
      and accessible spaces that are on the same sites throughout the resort including
      surrounding the retail shopping, lodging and dining facilities located within the resort, in
      violation of the ADA whose remedy is readily achievable.

   D. There is no firm, stable and slip resistant accessible route to the boat rental hut at Deer
      Lake, in violation of the ADA whose remedy is readily achievable.

   E. There is no firm, stable and slip resistant accessible route to the outside snack bar and
      lakeside lounge chairs at Deer Lake, in violation of the ADA whose remedy is readily
      achievable.

   F. There is no accessible route to access the ski lift, in violation of the ADA whose remedy
      is readily achievable.

   G. The resort’s designated accessible parking is located at the Grand Lodge only and not
      disbursed throughout the resort, this includes a complete lack of designated accessible
      parking at golf facilities, Deer Lake recreations and restaurant facilities, tennis facilities
      and other lodging offerings besides the Grand Lodge throughout Boyne Mountain, in
      violation of the ADA whose remedy is readily achievable.

   H. There are changes in level and surface slopes at the entrance doors, which does not
      provide the required maneuvering clearance for a level landing, in violation of the ADA
      whose remedy is readily achievable.

   I.   There are sidewalks located on accessible routes throughout the facility that do not have
        accessible and in many cases any curb ramps or curb cuts at crossings, in violation of the
        ADA whose remedy is readily achievable.

Forty Acres Tavern

   J.   At least 5% of the outdoor dining tables do not have required knee and toe clearance, in
        violation of the ADA whose remedy is readily achievable.

   K. The entrances to the restaurant are both inaccessible due to a step and threshold in excess
      of ½ inch, in violation of the ADA whose remedy is readily achievable.

   L. There are cracks and changes in level in excess of ¼ inch along the accessible route to
      the entrance, in violation of the ADA whose remedy is readily achievable.
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   M. The flush control in the men’s restroom is not located on the open side of the unit, in
      violation of the ADA whose remedy is readily achievable.

   N. Some amenities in the men’s restroom, including the paper towel dispenser, are located
      above the allowable reach range, in violation of the ADA whose remedy is readily
      achievable.

   O. Both the men’s and women’s restroom signage is non-compliant, including lacking the
      international symbol of accessibility, in violation of the ADA whose remedy is readily
      achievable.

   P. Upon information and belief, the women’s restroom contains similar barriers as the
      men’s restroom, in violation of the ADA whose remedy is readily achievable.


Beach House Restaurant

   Q. There is no designated accessible parking in the Beach House Restaurant parking lot, in
      violation of the ADA whose remedy is readily achievable.

   R. Both the men’s and women’s restroom signage is non-compliant, including lacking the
      international symbol of accessibility, in violation of the ADA whose remedy is readily
      achievable.

   S. There is insufficient latch side clearance to exit the men’s restroom, in violation of the
      ADA whose remedy is readily achievable.

   T. The lavatory hardware requires tight grasping or twisting, in violation of the ADA whose
      remedy is readily achievable.

   U. The water line and drain pipe under the lavatory are not insulated or otherwise
      configured to protect against contact, in violation of the ADA whose remedy is readily
      achievable.

   V. The mirrors are mounted in excess of allowable height above the finish floor, in violation
      of the ADA whose remedy is readily achievable.

   W. There are two urinals, none of which are mounted at the required height, in violation of
      the ADA whose remedy is readily achievable.

   X. The toilet compartment door swings into the minimum required compartment area, in
      violation of the ADA whose remedy is readily achievable.

   Y. The toilet compartment door lacks door pulls on both sides and is not self-closing, in
      violation of the ADA whose remedy is readily achievable.
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   Z. The toilet compartment lacks grab bars, in violation of the ADA whose remedy is readily
      achievable.

   AA.          The coat hook on the toilet compartment door is mounted above the maximum
         reach range allowance, in violation of the ADA whose remedy is readily achievable.

Boyne Sports Center

   BB. There are cracks and changes in level along the accessible route to the entrance, in
       violation of the ADA whose remedy is readily achievable.

   CC. There is a threshold in excess of ½ inch at the entrance to the Sports Center, in violation
       of the ADA whose remedy is readily achievable.

   DD.         The fitting room door swings into the required turning space and there is not a
         compliant bench inside the room, in violation of the ADA whose remedy is readily
         achievable.

   EE. The door hardware on the fitting room requires tight grasping or twisting, in violation of
       the ADA whose remedy is readily achievable.

   FF. There are stone steps inside the sports center, impairing access by wheelchair users, in
       violation of the ADA whose remedy is readily achievable.

   GG.        Service or transaction counters inside the Sports Center do not have a lowered
       section as required, in violation of the ADA whose remedy is readily achievable.

   HH.        The Sports Center offers golf carts for rent, but none are accessible golf carts
       usable by disabled customers, in violation of the ADA whose remedy is readily
       achievable.

   II. There is a ramp within the Sports Center without handrails on both sides, in violation of
       the ADA whose remedy is readily achievable.

   JJ. The women’s restroom signage is non-compliant, including lacking the international
       symbol of accessibility, in violation of the ADA whose remedy is readily achievable.

   KK.        The women’s restroom lavatory pipes are not insulated to protect against scalding
       or contact, in violation of the ADA whose remedy is readily achievable.

   LL. The designated accessible toilet compartment doors are not self-closing and do not have
       door pulls on either side, in violation of the ADA whose remedy is readily achievable.

   MM.       There are purse/coat hooks on the designated accessible toilet compartment doors
     that are mounted in excess of allowable height, in violation of the ADA whose remedy is
     readily achievable.

   NN.        The flush control in the women’s restroom is not located on the open side of the
      unit, in violation of the ADA whose remedy is readily achievable.
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Clock Tower Lodge

   OO.          There is no accessible route to the entrance due to the presence of a step, in
         violation of the ADA whose remedy is readily achievable.

   PP. There is no accessible route to the 2nd floor of the lodge due to the presence of steps, in
       violation of the ADA whose remedy is readily achievable.

   QQ.         There is no fixed lift to access the pool or hot tub, in violation of the ADA whose
         remedy is readily achievable.

   RR. There are restaurants located in this facility, including a pizzeria, that lack accessibility
       features, in violation of the ADA whose remedy is readily achievable.

   SS. There are no accessible overnight accommodations located in this class of resort
       guestroom despite being operated as transient lodging.

Golf Center

   TT. The snack bar near the Golf Center does not have a lowered service counter, in violation
       of the ADA whose remedy is readily achievable.

   UU.         There is no designated accessible parking in the Golf Center parking lot, in
        violation of the ADA whose remedy is readily achievable.

   VV.        There is no accessible parking serving the golf center, in violation of the ADA
        whose remedy is readily achievable.

   WW.    There is no accessible route from parking to the Golf center, in violation of the
     ADA whose remedy is readily achievable.

   XX.         There is no adaptive golf cart available for disabled golfers at any of the resort’s
         two courses whereas, golf carts are offered to able bodied golfers, in violation of the
         ADA whose remedy is readily achievable.

   YY.          There are no accessible restroom facilities available to disabled gofers on either of
         the Defendants’ two golf courses, in violation of the ADA whose remedy is readily
         achievable.


Retail Storefronts

   ZZ. The entrance door to Boyne Realty is equipped with hardware that requires tight
       grasping or twisting to operate, in violation of the ADA whose remedy is readily
       achievable.

   AAA.    The service or transaction counter inside the Adventure Center does not have a
     lowered section, in violation of the ADA whose remedy is readily achievable.

   BBB.     The retail shops on the lower level and at the upper level have no accessible route
      for wheelchair users due to the presence of steps, in violation of the ADA whose remedy
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       is readily achievable.

   CCC.       There are numerous individual retailers with thresholds in excess of ½ inch at
      their entrances, in violation of the ADA whose remedy is readily achievable.

Tennis Center

   DDD.    The tennis center building next to the tennis courts is inaccessible due to the
     presence of steps at the entrance, in violation of the ADA whose remedy is readily
     achievable.

   EEE.       There is no accessible route to access the tennis courts due to the lack of firm,
      stable and slip resistant ground surface, in violation of the ADA whose remedy is readily
      achievable.

Grand Lodge

   FFF.      Designated accessible parking is not maintained, specifically snow removal at
      accessible parking in winter, in violation of the ADA whose remedy is readily
      achievable.

   GGG.     There is not two accessible means of entry to the grand lodge hotel indoor/
     outdoor swimming pool and there is not a fixed permanent adaptive pool lift, in violation
     of the ADA whose remedy is readily achievable. The failure to provide required access
     points of entry and devices to the swimming pool make access for a person who is a
     double leg amputee like Rudolph Betancourt, or who has other mobility impairment,
     very difficult to enter or exit from a wheelchair.

   HHH.    The men’s restroom located near the pool area contains signage that is non-
     compliant, in violation of the ADA whose remedy is readily achievable.

   III. The lavatory inside the pool area restroom has lavatory pipes that are not insulated to
        protect against scalding or contact, in violation of the ADA whose remedy is readily
        achievable.

   JJJ. The shower in the pool area has a six inch threshold rendering it inaccessible for
        customers who use wheelchairs, in violation of the ADA whose remedy is readily
        achievable.

Resort Transient Lodging

   KKK.      Defendants serve as a property manager for condominium owners and operate the
     resort condominiums as a transient lodging hotel subject to the ADA. The lodging has a
     central reservation system, patrons have short terms stays, the resort has regular
     housekeeping, and the resort handles the refurbish, remodel or changes to the units in
     order to maintain certain hospitality standards. While therefore a transient lodging
     facility, the resort does not maintain facilities required to be compliant with the ADA.

   LLL.      The Defendants’ resort offers numerous and varied types, prices and classes of
      lodging options but does not disburse accessible accommodations among the types,
      instead locating them only in one type, in violation of the ADA whose remedy is readily
      achievable. Rudolph Betancourt, as a patron who requires a guestroom with mobility
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       accessible features, is limited to a selection of standard guestroom offerings. Whereas,
       according to its website the hotel property has guestrooms which vary based upon
       available view, size and square footage of suites, and bed types which are not made
       available to Rudolph Betancourt and other’s with disabilities who require and request
       mobility designated accessible guestrooms.

Mountain Grand Accessible Guestroom no. 233

   MMM.     In the designated accessible guestroom kitchenette, the top of the fixed dining bar
     surface is not within the compliant height range, in violation of section 902.3 of the 2010
     Standards whose remedy is readily achievable.

   NNN.      There is no compliant knee space provided under the kitchenette sink, in violation
     of sections 806.2.5 and 306.3.1 of the 2010 Standards whose remedy is readily
     achievable.

   OOO.      There are amenities such as a thermostat and other fixtures mounted in excess of
     the allowable reach range, in violation of the ADA whose remedy is readily achievable.

   PPP.      In the designated accessible guest bathroom roll-in shower, the hand-held shower-
      spray unit does not provide the required on/off control in violation of section 607.6 of the
      2010 Standards.

   QQQ.    In the designated accessible guest bathroom, the Standard Roll-In Type Shower
     Compartment does not provide a fold down seat in violation of section 608.4 of the 2010
     Standards.

   RRR.      In the designated accessible guestroom bathroom, the flush control is not located
      on the open side of the water closet in violation of section 604.6 of the 2010 Standards.

   SSS.      Upon information and belief, Rudolph Betancourt believes substantially similar
      barriers to handicap access for the mobility impaired exist in all guestrooms that are
      designated as mobility accessible guestrooms throughout the hotel.

Access to Good and Services

   TTT.      Mr. Betancourt has provided his attorneys over 70 personal photos of amenities
      throughout the resort, including of scenic chairlift rides, beaches, adventure tours and
      other amenities which he personally identified barriers to handicap access but were not
      accessible to counsel upon a pre-suit due diligence inspection and require closer
      inspection from counsel and his expert to depict in sufficient detail.

Policies and Procedures

   UUU.     The Defendants lack or has inadequate defined policies and procedures for the
     assistance of disabled patrons, in violation of the ADA whose remedy is readily
     achievable.

   VVV.      The operators’ agent cannot identify and describe accessible features in the guest
     rooms offered through its reservations service in enough detail to reasonably permit
     individuals with disabilities to assess independently whether a given guest room meets
     his or her accessibility needs.
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      WWW. The Defendants’ inadequate procedures for the benefit of its patrons with
        disability extend to its failure to conduct a self-survey of its facilities and amenities that
        has resulted in discriminatory conduct toward Rudolph Betancourt.


13.      The discriminatory violations described in paragraph 12 are not an exclusive list of the

         Defendants’ ADA violations. Plaintiff requires the inspection of the Defendants’ place of

         public accommodation in order to photograph and measure all of the discriminatory acts

         violating the ADA and all of the barriers to access. The Plaintiff, has been denied access

         to, and has been denied the benefits of services, programs and activities of the

         Defendants’ buildings and its facilities, and have otherwise been discriminated against

         and damaged by the Defendants because of the Defendants’ ADA violations, as set forth

         above. The individual Plaintiff, and all others similarly situated will continue to suffer

         such discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

         requires an inspection of the Defendants’ place of public accommodation in order to

         determine all of the areas of non-compliance with the Americans with Disabilities Act.

                                   COUNT I
                VIOLATION OF THE AMERICANS WITH DISABILITES ACT

14.      Plaintiff restates the allegations of ¶¶1-13 as if fully rewritten here.

15.      Boyne Mountain Resort, and the businesses therein, are public accommodations and

         service establishments, and as such must be, but are not, in compliance with the

         Americans with Disabilities Act ("ADA") and Americans with Disabilities Act

         Accessibility Guidelines ("ADAAG").

16.      Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

         privileges, and advantages of the property and the businesses therein on the basis of his

         disability, due to Defendants’ property failing to be in compliance with Title III of the

         Americans with Disabilities Act and its accompanying regulations. as prohibited by 42

         U.S.C. § 12182, et seq., and will continue to discriminate against Plaintiff and others
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      with disabilities unless and until Defendants are compelled to remove all physical barriers

      that exist at the facility, including those specifically set forth herein; to create and

      implement lawful policy and procedures for the benefit of patrons and guests with

      disabilities; and, to make the facility accessible to and usable by persons with disabilities,

      including Plaintiff.

17.   Plaintiff, and others similarly-situated, are without adequate remedy at law and are

      suffering irreparable harm, and reasonably anticipate that they will continue to suffer

      irreparable harm unless and until Defendants are required to remove the physical barriers,

      dangerous conditions and procedural ADA violations that exist at the facility, including

      those set forth herein.

18.   Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

      requiring Defendants to make such readily achievable alterations as are legally required

      to provide full and equal enjoyment of the goods, services, facilities, privileges, and

      advantages on its property to disabled persons. In connection with that relief, Plaintiff

      requests reasonable attorneys’ fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

19.   Plaintiff restates the allegations of ¶¶1 - 1 8 as if fully rewritten here.

20.    Boyne Mountain Resort and the businesses therein, are "place[s] of public

       accommodation" pursuant to M.C.L §37.1301(a).

21.   Defendants committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

      full enjoyment of its goods, services, accommodations, advantages, facilities, or

      privileges.

22.   Whereas, Rudolph Betancourt paid full retail price for goods and services he could not

      fully enjoy or in some instances could not use at all as a result of Defendants’

      discrimination.
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23.   Whereas, there is no access to a restroom facility for Mr. Betancourt or others similarly

      situated with mobility impairments on either of the resort’s two golf courses. This is

      unreasonable considering a round of golf, plus socializing with others at the golf course

      can and does last for period of four to five hours and longer.

24.   Whereas, Defendants rent carts to able-bodied golfers but does not rent golf carts that

      mobility impaired golfers can use. Most resort guests with a tee time can simply show up

      at Boyne Mountain Resort and play either of its two golf courses. Disabled patrons, such

      as Mr. Betancourt specifically, can only play Boyne Mountain Resort if (1) they have the

      resources to own an accessible cart, a car and a trailer, (2) they pay to store, maintain and

      charge up the cart, (3) the course is close enough for them to drive to, and (4) they are

      physically able, despite their disability, to transfer the cart on and off the trailer.

25.   Whereas, the Defendants’ reservation operators cannot identify and describe accessible

      features in the guest rooms offered through its reservations service in enough detail to

      reasonably permit individuals with disabilities to assess independently whether a given

      guest room meets his or her accessibility needs.

26.   Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary damages,

      and attorneys’ fees and costs, in an amount to be determined at trial, but in any event not

      less than $25,000.00, as well as issuance of an injunction requiring Defendants to allow

      full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

      disabled persons.

WHEREFORE, Plaintiff demands,

      For COUNT I, an injunction requiring Defendants to make all readily achievable

      alterations and institute policies and procedures to allow full and equal enjoyment of the

      goods, services, facilities, privileges, and advantages to disabled persons, and the

      reasonable attorneys’ fees and costs of maintaining this action; and,

      For COUNT II, compensatory and exemplary damages, attorneys’ fees and costs, in an
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    amount to be determined at trial, but in any event not less than $25,000.00, as well as

    issuance of an injunction requiring Defendants to allow full and equal enjoyment of the

    goods, services, facilities, privileges, and advantages to disabled persons.



                                          Respectfully Submitted,

                                          Counsel for Plaintiff:

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